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                              United States District Court

Petition Government for the redress of grievance

Grievance: Errors in Government of the United States records causing deprivation of rights.

I, Robert Allen Rytlewski, DoD ID No 1211280006 attest to the following statement.

There are various administrative errors and omissions in official records of the Government of the
United States that are adversely effecting my “affiliation and eligibility for benefits” pertaining to my
honorable and faithful service in the United State Army.

Administrative errors in my Defense Enrollment Eligibility Reporting System(DEERS) record are
keeping me from obtaining the Identification Card mandated by the Geneva Convention that I be in
possession of, Pay, other entitlements and privileges owed me under the enlistment contract between
the Government of the United States and myself.

        According to Department of Defense Manual: NUMBER 1000.13, Volume 1 (January 23, 2014)
ENCLOSURE 2, ID CARD LIFE-CYCLE PROCEDURES, “IDENTITY AND ELIGIBILITY
VERIFICATION” c. DEERS Verification. “The VO shall utilize DEERS to verify affiliation and
eligibility for benefits as described in Volume 2 of this Manual.”

It is my belief that utilizing DEERS information the VO should issue me the DD FORM 2S
(RET)“Armed Forces of the United States Geneva Conventions Identification Card (Retired) (Blue)”
described in APPENDIX 1 TO ENCLOSURE 2 “ID CARD DESCRIPTIONS AND POPULATION
ELIGIBILITY CATEGORIES” of Department of Defense Manual: NUMBER 1000.13, Volume 1.

     According to the “MilConnect” website (https://milconnect.dmdc.osd.mil) “Veterans must be in
DEERS so they can register for a DS Logon and utilize the eBenefits website.”

I am registered for a “DS Logon” but my profile on the VA Website has my name as “Robert Allen
allen Rytlewski; an incorrect date of birth of 09/01/1958 (should be 09/05/1958), and Service dates
that are not the same as those on my “Certificate of Release or Discharge from Active Duty” (DD-214).

EXHIBIT 1 is a copy of my profile page on the VA website evidencing the errors. I believe these
attributes in error are incorporated into my DEERS record and contribute to the disenfranchisement of
my entitlements. (Take notice my Given Name is Robert Allen, I do not have a middle name).

       The “Certificate of Release or Discharge from Active Duty” (DD-214) I was provided by the
United States Army was not executed in accordance with Army Regulations and it contains
administrative errors and omissions that contribute to a mistake in my current status with the
Government of the United States that adversely effects Pay, entitlements and privileges owed me for
my Honorable and Faithful service. (EXHIBIT 2).

The “Separation Authority” Army Regulation (AR 635-200) listed in Block 25 of the DD-214 mandates
the process that must be executed if I was released from the custody and control of the United States
Army. The Government of the United States has not provided proof this process was completed.
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I never received an administrative separation order required under AR 635-200, nor the Separation Pay
authorized by “Separation Code” JBK (Block 26) I am entitled too if I had in actual fact been released
from the custody and control of the Army.

I did not sign my DD-214 indicating I was “in absentia” but this error was never corrected by a
subsequent document; and as I did not receive a dental exam I could not have been discharged.

        It is my belief I was never “discharged” and that the Government of the United States exercised
its contractual option to retain me past my end of enlistment date and that in actual fact I am still a
member of the United States Army even if that would mean that I am considered “Missing” status.

The ENLISTMENT/REENLISTMENT DOCUMENT, ARMED FORCES OF THE UNITED
STATES(DD FORM 4/1,4/2,4/3) states in its Section 9 (5) “Entitled to receive pay, allowances, and
other benefits as provided by law and regulation” while enlisted and in Section 10 it is clearly stated
that my enlistment can be extended without my consent.

I believe the policies and procedures of the Department of Defense, Department of the Army, and
Veterans Affairs are not being followed “by the book” and I am unjustly denied Pay, entitlements, and
privileges owed me by my enlistment contract with the Government of the United States.

I believe all Veterans and survivors have similar defects in DEERS and DD-214 records causing them
the same style deprivation of rights.

50 USC Ch. 50: SERVICEMEMBERS CIVIL RELIEF, §4012. Certificates of service; persons
reported missing; makes provisions for the Secretary of the Army to provide Certificate by application
that would certify my current status. (EXHIBIT 3)

I ask the Court apply for this Certificate on my behalf and based on the Certificates details the court
order my equitable relief in accordance with the details on the Certificate of service.

“I declare under penalty of perjury that the foregoing is true and correct. Executed on October 12 2020.

Signature: _________________________________________

Robert Allen Rytlewski, United States Army Veteran
DOD ID No. 1211280006

Official Address: 10955 14 MILE RD NE
                ROCKFORD MI 49341-8664

Phone: 616-712-6179
Email: RobbRyder@aol.com

EXHIBIT 1: copy of Petitioner’s profile page on the VA website
EXHIBIT 2: Petitioner’s most recent “Certificate of Release or Discharge from Active Duty” (DD-214)
Case 1:20-cv-08543-LLS EXHIBIT
                         Document1 1 Filed 10/13/20 Page 3 of 6
                       s/Robert Allen Rytlewski
                       Official Address: 10955 14 MILE RD NE
                                         ROCKFORD MI 49341-8664
                       Phone: 001-616-712-6179 / Email RobbRyder@aol.com
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                              EXHIBIT 2
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                                       EXHIBIT 3
                                       s/Robert Allen Rytlewski
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